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                                                 07/10/18   PagePage
                                                      07/09/18   1 of 12 of 2




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


   UNITED STATES OF AMERICA,

                      Plaintiff,
                                                                 Case No. 1: 18-cv-05800
           V.

   THE WALT DISNEY COMPANY and                              lvsnc    SD~·. y               _,._]
   TWENTY-FIRST CENTURY FOX, INC.,
                                                              DOCUMENT                         II
                      Defendants.                             ELECTRON iCAi,L Y FILED
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                [fjflH'O!iJID] ORDER FOR ADMISSION PRO HACVIcr-·-- ···-
                                                                                 1k4i___       :i


       The motion of George S. Cary for admission to practice Pro Hae Vice in the above-

captioned action is granted.

Applicant has declared that he is a member in good standing of the bars of the state of California

and the District of Columbia; and that his contact information is as follows:

       George S. Cary
       (gcary@cgsh.com)
       Cleary Gottlieb Steen & Hamilton LLP
       2000 Pennsylvania Avenue, N.W.
       Washington, DC 20006
       Telephone: (202) 974-1500
       Facsimile: (202) 97 4-1999


       Applicant having requested admission Pro Hae Vice to appear for all purposes as counsel

for Defendant Twenty-First Century Fox, Inc. in the above-entitled action;
      Case 1:18-cv-05800-CM
        Case 1:18-cv-05800-CMDocument 1512-3
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                                                07/10/18   PagePage
                                                     07/09/18   2 of 22 of 2




       IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hae Vice in the

above-captioned case in the United States District Court for the Southern District of New York.

All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys.


                                                     United Sta~istrictlMa-gist;';t;~ Judge




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